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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION


SPEECH FIRST, INC.,
                            Plaintiff,


v.                                       Case No. 1:18-cv-1078-LY


GREGORY L. FENVES,
                          Defendant.




                  PLAINTIFF’S REPLY IN SUPPORT OF ITS
                 MOTION FOR PRELIMINARY INJUNCTION
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                                          INTRODUCTION
        While the University insists that it “robustly protects … free speech,” Resp. 1, it just earned

its twelfth consecutive “red light” rating from FIRE, meaning it “clearly and substantially restricts

protected speech.” Spotlight on Speech Codes 2019, bit.ly/2RPW5p7. Despite the University’s character-

ization of Speech First as “an advocacy group lacking any connection with the University,” Resp. 2,

Speech First has multiple members who attend the University, and the challenged policies flagrantly

violate their rights—notwithstanding the University’s generic paeans to free speech and its promises

to use the policies responsibly. This Court should grant a preliminary injunction.

                                             ARGUMENT
        To win a preliminary injunction, Speech First must prove likely success on standing and the

merits—“not certainty.” Whole Woman’s Health v. Paxton, 264 F. Supp. 3d 813, 823 (W.D. Tex. 2017)

(Yeakel, J.). “Likely” means Speech First “need only present a prima facie case, rather than meet the

standard for summary judgment.” Daniels Health Scis. v. Vascular Health Scis., 710 F.3d 579, 584-85 (5th

Cir. 2013). Speech First easily clears that bar, and it satisfies the other preliminary-injunction factors.

I.      Speech First Has Article III Standing.
        The University is correct that Speech First has standing if its members do, that its members

have standing if the challenged policies “objectively” chill their speech, and that objective chill exists

if there is a “credible threat” of enforcement. Resp. 2-3. The credible-threat standard is “‘quite

forgiving.’” Wollschlaeger v. Gov’r, 848 F.3d 1293, 1305 (11th Cir. 2017) (en banc). “A court may assume

a credible threat … when the [policy] facially restricts expressive activity by the class to which the

plaintiff belongs.” McKinley v. Abbott, 2010 WL 11545260, at *4 (W.D. Tex. 2010) (Yeakel, J.), aff’d in

relevant part, 643 F.3d 403, 407 (5th Cir. 2011); N.H. Right to Life PAC v. Gardner, 99 F.3d 8, 14 (1st Cir.

1996). Contrary to the University’s arguments, Resp. 7-8, “no history of past enforcement” is required.

Rangra v. Brown, 566 F.3d 515, 519 (5th Cir. 2009), on reh’g en banc, 584 F.3d 206; Doe v. Bolton, 410 U.S.

179, 188 (1973); Calif. Pro-Life Council, Inc. v. Getman, 328 F.3d 1088, 1094-95 (9th Cir. 2003). The “mere


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existence of [the] allegedly vague or overbroad statute” creates the injury. Ctr. for Individ. Freedom v.

Carmouche, 449 F.3d 655, 660 (5th Cir. 2006); Majors v. Abell, 317 F.3d 719, 721 (7th Cir. 2003).

        There is a credible threat of enforcement here. The challenged policies are “aimed directly” at

students—“the class to which [Speech First’s members] belong.” McKinley, 2010 WL 11545260, at *4.

The threat is “bolstered” by the fact that anyone on campus can report violations. Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 164 (2014); see Norris Decl., Ex. A §13-204(e), Ex. B §7.3, Ex. C at 14, Ex. H.

And the challenged policies “facially restrict” the speech of Speech First’s members. While the

University disputes this, Speech First only needs to prove that the challenged policies “arguably” cover

its members’ speech. Driehaus, 573 U.S. at 162. They do—both arguably and actually.

        Verbal-Harassment Rule: The Rule reaches one-off “oral” statements that are “severe” and

that “diminish[]” another student’s education, including “personal attacks” based on “political views.”

Norris Decl., Ex. A, §13-204. While a separate provision says the University respects free speech, it

clarifies that this respect is “subject … to” the University’s “rules.” §13-101(c). Anyway, such generic

disclaimers (which every university makes) do not lessen the chilling effect of more specific speech

restrictions. Dambrot v. Cent. Michigan Univ., 55 F.3d 1177, 1183 (6th Cir. 1995). Further, the Rule

provides limited protection for “argument[s]” about “idea[s],” §13-204(b), but the First Amendment

is not so limited, see UWM Post, Inc. v. Bd. of Regents, 774 F. Supp. 1163, 1178 (E.D. Wis. 1991). And

the Rule protects speech only if it is “necessary” to express an idea, warning students that certain

speech is “rarely, if ever, necessary.” §13-204(b). Nor does the University explain how its instruction

to interpret the Rule “narrowly”—after the fact, by courts, in litigation—could remove the current chill

on students’ speech. §13-204(e); Bd. of Airport Comm’rs v. Jews for Jesus, Inc., 482 U.S. 569, 575-76 (1987).

        Acceptable Use Policy: The Policy broadly prohibits speech that others subjectively consider

“[un]civil,” “rude,” “harassing,” or repetitive. Norris Decl., Ex. B, §5.6. These provisions are

enforceable rules: They use mandatory language, they appear in section V (titled “Requirements”), and



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the Policy imposes “consequences for violating the rules listed in Section V,” including “[r]evocation

of access privileges,” “[d]isciplinary probation,” and “[s]uspension,” §7.1. See Wollschlaeger, 848 F.3d at

1305-06. The Policy’s generic disclaimers about free speech change nothing, supra 2, and expressly

exclude violations of any “university rules” or “regulations,” §§3.3, 7.2.1—including the Policy.

        Residence Hall Manual: The Manual broadly states that “[u]ncivil” language is “not permitted,”

and that “harassment and intimidation” (defined by a long list of -isms, like “cissexism” and “ableism”)

is against University “policy” and will be “respond[ed]” to. Norris Decl., Ex. C at 18. These provisions

are enforceable rules: They use mandatory language, they appear under separate headings in the section

on “Student Conduct,” and students must follow “all specific Housing policies articulated in the …

Manual.” Id. at 14-25. Further, University Housing has its own separate process for punishing violations

of the Manual. Id. at 24-28. That is why the Manual states that “harassment as defined in the Institutional

Rules” is handled by the Dean of Students, but “harassment or intimidation in the residence hall

environment” (defined more broadly) is handled by Housing. Id. at 18 (emphasis added). Again, the

generic disclaimer about free speech—in the section about “Posters,” id. at 37-38—changes nothing.

        Campus Climate Response Team: The University does not dispute that its subjective

definitions of “bias incident” and “campus climate incident” cover Speech First’s members; indeed,

the CCRT has received hundreds of reports on similar speech. The University instead argues that the

CCRT is not a “disciplinary” or “adjudicatory” body. Resp. 6-7. That is irrelevant. The government

violates the First Amendment whenever it objectively chills speech, even if it uses “indirect

‘discouragements,’” “coercion,” “intimidation,” or other actions “short of a direct prohibition on

speech.” Am. Commc’ns Ass’n v. Douds, 339 U.S. 382, 402 (1950); Backpage.com, LLC v. Dart, 807 F.3d

229, 230-31 (7th Cir. 2015); Levin v. Harleston, 966 F.2d 85, 89 (2d Cir. 1992). Even calls for “voluntary”

dialogue with officials who lack direct regulatory authority can illegally chill speech. Id.; Okwedy v.

Molinari, 333 F.3d 339, 344 (2d Cir. 2003); Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963).



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        As FIRE’s study found, “Bias Response Teams create—indeed, they are intended to create—

a chilling effect on campus expression.” Bias Response Team Report 2017, FIRE, at 5. The CCRT chills

speech by “creating a ‘process-is-punishment’ mechanism that deters people from speaking out.” Id.

at 28. Students stay quiet because, if they say something perceived as “biased,” it will get reported,

forever logged on a public website, trigger “information gathering” efforts and “meetings” with

university administrators, and risk informal punishments like training, re-education, dispute resolution,

or “referral” for formal discipline by a CCRT “partner,” Norris Decl., Ex. J—consequences that the

University’s many declarations do not disclaim. The CCRT also chills speech by implicitly threatening

discipline. The CCRT is designed to look like a disciplinary body—from its name, to its terminology

(calling students “offenders”), to its members (including disciplinarians and police officers). Exs. H, F.

II.     The Challenged Policies Are Unconstitutional.
        Overbreadth: The University does not dispute that its policies (other than the verbal-

harassment rule) are facially overbroad. It briefly mentions the possibility of a “reasonable limiting

construction,” Resp. 10, but the University never actually offers one. Defendants cannot defeat a

preliminary injunction by “simpl[y] allu[ding]” to “the existence of a plausible defense.” Dallas Cowboys

Cheerleaders, Inc. v. Scoreboard Posters, Inc., 600 F.2d 1184, 1188 (5th Cir. 1979). And federalism prohibits

federal courts from “sua sponte proffer[ing] possible constructions that would limit [the] overbreadth”

of state policies. Hill v. City of Houston, 764 F.2d 1156, 1165 (5th Cir. 1985); accord Beckerman v. City of

Tupelo, 664 F.2d 502, 509 (5th Cir. 1981). Nor is there an obvious limiting construction that would

simultaneously cure the policies’ overbreadth, introduce no new vagueness, and not rewrite the poli-

cies’ text. Jews for Jesus, 482 U.S. at 575-76; Lopez v. Candaele, 2009 WL 10698469, at *4 (C.D. Cal. 2009).

        The University defends its verbal-harassment rule by arguing that it “tracks the essence of the

Davis standard,” Resp. 4, 9, but that is not good enough. Davis involved sexual harassment by “public

schoolchildren.” Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 646 (1999). Because the free-speech



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rights of adults at public universities are far broader, DeJohn v. Temple Univ., 537 F.3d 301, 315 (3d Cir.

2008), universities must at least scrupulously comply with the Davis standard. The verbal-harassment

rule does not: Its text is not limited to harassment that amounts to discrimination against a protected

class, to harassment that “effectively denie[s]” access to University programs, or to harassment that is

“severe, pervasive, and objectively offensive.” Davis, 526 U.S. at 650-51 (emphasis added). It broadens

each element of Davis and covers, contrary to Davis, “severe one-on-one peer harassment.” Id. at 652.

        Vagueness: The University does not dispute that the “necessary” element of the verbal-

harassment rule is void for vagueness. See Mot. 7-8. Nor does it dispute that its other policies are

unconstitutionally vague on their face. While the University points to its generic disclaimers about free

speech, Resp. 10, those disclaimers do not narrow the challenged policies, supra 2-3, and cannot

possibly make them less vague. See Nat’l People’s Action v. City of Blue Island, 594 F. Supp. 72, 75-79 (N.D.

Ill. 1984). The University also points to its “enforcement” of the challenged policies, Resp. 10, but its

promise to use “prosecutorial discretion and good sense … does not cure what are otherwise

unconstitutionally vague provisions.” Austin LifeCare, Inc. v. City of Austin, 2014 WL 12774229, at *8

(W.D. Tex. 2014) (Yeakel, J.); see FCC v. Fox Telev. Stations, 567 U.S. 239, 255 (2012).

III.    The Other Preliminary-Injunction Factors Are Satisfied.
        When a plaintiff proves a likely constitutional violation, the other preliminary-injunction

factors are necessarily satisfied. ACLU of Ill. v. Alvarez, 679 F.3d 583, 589-90 & n.1 (7th Cir. 2012).

Even “‘minimal’” First Amendment violations “‘constitute[] irreparable injury,’” and preventing them

is “‘always in the public interest.’” Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 539 (5th

Cir. 2013). Nor can the University be “harmed” by an injunction that stops it from “applying [its]

polic[ies] in a manner that violates [students’] First Amendment rights”—something it has no right to

do. Christian Legal Soc’y v. Walker, 453 F.3d 853, 867 (7th Cir. 2006).

                                            CONCLUSION
        The Court should grant Speech First’s motion for a preliminary injunction.


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                                         Respectfully submitted,

Dated: February 4, 2019                   /s/ Cameron T. Norris tn

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                                 CERTIFICATE OF SERVICE
      I certify that on February 4, 2019, I electronically filed this brief with the Clerk of Court using

the CM/ECF system.

                                                      /s/ Cameron T. Norris tn




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